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                            UNITED STATES DISTRICT COURT FOR THE
 5
                               NORTHERN DISTRICT OF CALIFORNIA
 6

 7                                     SAN FRANCISCO DIVISION

 8
           Zachary NIGHTINGALE; Courtney                              No. 3:19-cv-03512-WHO
 9         McDERMED; Cheryl DAVID; Pao LOPA; and
           Maribel CARANDANG,
10

11            Plaintiffs,                                             Declaration of Trina
                                                                      Realmuto in Support of
12                    v.                                              Plaintiffs’ Opposition to
                                                                      Defendants’ Motion for
13     U.S. CITIZENSHIP AND IMMIGRATION                               Partial Stay of Injunction
       SERVICES; U.S. IMMIGRATION AND
14
       CUSTOMS ENFORCEMENT; U.S.
15     DEPARTMENT OF HOMELAND SECURITY,

16            Defendants.

17

18     Pursuant to 28 U.S.C. § 1746, I hereby declare:
19
       1.       I am the Executive Director of the National Immigration Litigation Alliance. I am one
20
       of the counsel for Plaintiffs and class members in this case. I submit this declaration in
21
       support of Plaintiffs’ Opposition to Defendants’ Motion for Partial Stay of the Injunction.
22

23     2.       I have personal knowledge of the facts set forth herein, and, if called as a witness, I

24     could and would testify completely as set forth below.

25     3.       Accompanying Plaintiffs’ Opposition as Exhibit A is a true and correct copy of U.S.
26     Citizenship and Immigration Services (USCIS) Form G-639, dated June 20, 2019.
27
       .
28
     Realmuto Decl. Re: Opp. to Dfs.’ Mx. for Partial Stay Inj.                  No. 3:19-cv-03512-WHO
                                                                  1
      Case 3:19-cv-03512-WHO Document 141-1 Filed 09/29/22 Page 2 of 3


 1     4.       Accompanying Plaintiffs’ Opposition as Exhibit B is a true and correct copy of USCIS
 2     Form G-639, dated July 25, 2022.
 3
       5.       Accompanying Plaintiffs’ Opposition as Exhibit C is a true and correct copy of a
 4
       screenshot of the Freedom of Information Act (FOIA) Immigration Records System (FIRST) web
 5
       portal, located at first.uscis.gov/#/request-onbehalf, taken on September 28, 2022.
 6

 7     6.       Accompanying Plaintiffs’ Opposition as Exhibit D is the Department of Homeland

 8     Security Report to the Attorney General of the United States for Fiscal Year 2009.

 9     7.       Accompanying Plaintiffs’ Opposition as Exhibit E is the Department of Homeland
10     Security Report to the Attorney General of the United States for Fiscal Year 2010.
11
       8.       Accompanying Plaintiffs’ Opposition as Exhibit F is the Department of Homeland
12
       Security, Privacy Office, Report to the Attorney General of the United States for Fiscal Year 2011.
13
       8.       Accompanying Plaintiffs’ Opposition as Exhibit G is the Department of Homeland
14

15     Security Report to the Attorney General of the United States and the Director of the Office of

16     Information Services for Fiscal Year 2020.

17     12.      7.       Accompanying Plaintiffs’ Opposition as Exhibit H is the Department of Homeland
18
       Security Report to the Attorney General of the United States and the Director of the Office of
19
       Information Services for Fiscal Year 2021. Note: the title page of the report incorrectly references
20
       Fiscal Year 2022, but page 2 confirms that the report covers Fiscal Year 2021.
21

22

23     I declare under penalty of perjury that the above information is true and correct to the best of

24     my knowledge. Executed this 29th day of September 2022 at Brookline, Massachusetts.
25                                                  By:      s/ Trina Realmuto
26                                                           Trina Realmuto

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     Realmuto Decl. Re: Opp. to Dfs.’ Mx. for Partial Stay Inj.                  No. 3:19-cv-03512-WHO
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 1                                    CERTIFICATE OF SERVICE
 2              I hereby certify that on September 29, 2022, I electronically filed the foregoing document
 3
       with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
 4
       to those attorneys of record registered on the CM/ECF system.
 5

 6      s/ Trina Realmuto
        Trina Realmuto
 7      National Immigration Litigation Alliance
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     Realmuto Decl. Re: Opp. to Dfs.’ Mx. for Partial Stay Inj.           No. 3:19-cv-03512-WHO
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